









Dismissed and Opinion filed February 13, 2003









Dismissed and Opinion filed February 13, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-02-01223-CR

____________

&nbsp;

PATRICK
JAMES HARRISON, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 228th District Court

Harris
County, Texas

Trial
Court Cause No. 912,698

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant pled guilty to the offense of possession of a
controlled substance on October 13, 2002.&nbsp;
In accordance with the terms of a plea bargain agreement with the State,
the trial court sentenced appellant on November 18, 2002, to 6 months in the
Texas Department of Criminal Justice, State Jail Division and a $2,000
fine.&nbsp; Appellant filed a general notice
of appeal on November 18, 2002.&nbsp; Because
we have no jurisdiction over this appeal, we dismiss.&nbsp; 








To invoke an appellate court=s jurisdiction over an appeal, an
appellant must give timely and proper notice of appeal.&nbsp; White v. State, 61 S.W.3d 424, 428
(Tex. Crim. App. 2001).&nbsp; Appellant filed a timely general notice of
appeal that did not comply with the requirements of Rule 25.2(b)(3) of the
Texas Rules of Appellate Procedure.&nbsp; See
Tex. R. App. P. 25.2(b)(3).&nbsp; Rule 25.2(b)(3) provides that when an appeal
is from a judgment rendered on a defendant=s plea of guilty or nolo contendere and the
punishment assessed does not exceed the punishment recommended by the State and
agreed to by the defendant, the notice of appeal must:&nbsp; (1) specify that the appeal is for a
jurisdictional defect; (2) specify that the substance of the appeal was raised
by written motion and ruled on before trial; or (3) state that the trial court
granted permission to appeal.&nbsp; Id.&nbsp; Because appellant=s notice of appeal did not comply
with the requirements of Rule 25.2(b)(3), we are without jurisdiction to
consider any of appellant=s issues, including the voluntariness
of the plea.&nbsp; See Cooper v. State,
45 S.W.2d 77, 83 (Tex. Crim. App. 2001) (holding that
appellant who files general notice of appeal may not appeal voluntariness
of negotiated plea).[1]&nbsp; 

Accordingly, we dismiss the appeal for want of
jurisdiction.&nbsp; 

&nbsp;

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

&nbsp;

Judgment rendered and Opinion
filed February 13, 2003.

Panel consists of Justices
Anderson, Seymore, and Guzman.

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;











[1]&nbsp; The notice of appeal in this case was filed prior to
the amendments to the Texas Rules of Appellate Procedure effective January 1,
2003.







